                                                                           EXHIBIT A



                                                                                                                                        Two-Week        Adequate
         Debtor                       Utility                                   Address                                  Type            Average        Assurance
                                                                                                                                                         Deposit
    The Midwest Data                                                    301 Cleveland Ave., SW
     Company LLC                    AEP Ohio                              Canton, OH 44702                            Electricity         $9,231         $13,635


        TOTAL                                                                                                                             $9,231         $13,6351




1
  AEP Ohio was in possession of this deposit amount prior to the Petition Date and, as set forth in the Motion, the Debtor proposes such existing deposit shall be
deemed to be the Adequate Assurance Deposit (as defined in the Motion).




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